         Case 22-11064-pmm                        Doc        Filed 03/30/23 Entered 03/30/23 09:52:26                              Desc Main
                                                             Document      Page 1 of 4
    Fill in this information to identify the case:
    Debtor 1
                    Kevin Wrighten
    Debtor 2

    (Spouse, if filing)

    United States Bankruptcy Court for the:      Eastern District of Pennsylvania
                                                                             (State)

    Case number 22-11064-pmm


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: CU Members Mortgage, a Division                              Court claim no. (if known): 18
of Colonial Savings, F.A.
                                                                               Date of payment change:                     05/01/2023
                                                                               Must be at least 21 days after date
Last four digits of any number you                    9744                     of this notice
use to identify the debtor's account:



                                                                               New total payment:                          $1,402.17
                                                                               Principal, interest, and escrow, if any




    Part 1:         Escrow Account Payment Adjustment

1.       Will there be a change in the debtor's escrow account payment?
           No             Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                          the basis for the change. If a statement is not attached, explain why: ___________________________________________
     X Yes                __________________________________________________________________________________________________

                          Current escrow payment:        $421.48                         New escrow payment:         $1,074.04





Part 2:             Mortgage Payment Adjustment
    2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
          debtor's variable-rate note?
     X No                 Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                          attached, explain why:
           Yes            ____________________________________________________________________________________________
                          Current Interest Rate: _____%                                New interest rate: _____%
                          Current principal and interest payment:       $                New principal and interest payment:       $
Part 3:             Other Payment Change
    3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
                          Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
     X No                 agreement. (Court approval may be required before the payment change can take effect)
           Yes
                          Reason for change: ____________________________________________________________________________

                          Current mortgage payment:        $$______                      New mortgage payment:           $______




Official Form 410S1                                          Notice of Mortgage Payment Change                                                    Page 1
     Case 22-11064-pmm                         Doc            Filed 03/30/23 Entered 03/30/23 09:52:26                  Desc Main
                                                              Document      Page 2 of 4
Debtor 1     Kevin Wrighten                                                           Case Number (if known)
                                                                                                               22-11064-pmm
             First Name                Middle Name            Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
     I am the creditor.
       I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Michael Clark                                                            Date 03/30/2023
     Signature


 Print:                   Michael Clark                       Bar No.: 202929           Title     Bankruptcy Attorney
                          First name         Middle Name      Last name


 Company                  RICHARD M. SQUIRE & ASSOCIATES, LLC

 Address                  115 West Avenue, Suite 104,
                          Number                Street

                          Jenkintown, PA 19046
                          City                  State         Zip Code


 Contact phone            (215) 886-8790             Email:   mclark@squirelaw.com




Official Form 410S1                                           Notice of Mortgage Payment Change                                 Page 2
Case 22-11064-pmm                  Doc    Filed 03/30/23 Entered 03/30/23 09:52:26                       Desc Main
                                          Document      Page 3 of 4

                              IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re:   Kevin Wrighten                                      Chapter: 13

                                                             Bankruptcy No.: 22-11064-pmm
                                     Debtor                  11 U.S.C. § 362
CU Members Mortgage, a Division of Colonial Savings,
F.A.
                                                   Movant
                             vs.
Kevin Wrighten
                                                    Debtor
                             and
KENNETH E. WEST
                                                   Trustee
                                         RESPONDENTS


                                          CERTIFICATE OF SERVICE

         I hereby certify that I am over 18 years of age; and that service upon all interested parties, indicated below,
was made by sending true and correct copies of the Notice of Mortgage Payment Change electronically and/or via
First Class Mail, postage prepaid.

Date Served:      03/30/2023

KENNETH E. WEST
Chapter 13 Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

United States Trustee
Office of the U.S. Trustee
900 Market Street
Suite 320
Philadelphia, PA 19107

Kevin Wrighten
3915 Gideon Road
Brookhaven, PA 19015
Case 22-11064-pmm              Doc       Filed 03/30/23 Entered 03/30/23 09:52:26            Desc Main
                                         Document      Page 4 of 4


GEORGETTE MILLER
170 S. Independence Mall W
The Curtis Center, Suite 400
Philadelphia, PA 19106

        I hereby certify the foregoing to be true and correct under penalty of perjury.

                                                      Respectfully submitted,

                                                       /s/ Michael Clark
                                                      Richard M. Squire, Esq.
                                                      M. Troy Freedman, Esq.
                                                      Michael J. Clark, Esq.
                                                      One Jenkintown Station, Suite 104
                                                      115 West Avenue Jenkintown, PA 19046
                                                      215-886-8790
                                                      215-886-8791 (FAX)
                                                      rsquire@squirelaw.com
                                                      tfreedman@squirelaw.com
                                                      mclark@squirelaw.com
